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NOTICE TO COUNSEL

Before proceeding with the scheduled motions hearing in this case, the Court directs counsel for the parties
to answer the following inquires.

1. Have all of your pretrial motions been satisfied or otherwise resolved? Uw

2. Please list any unresolved motions which required a ruling by the court and indicate whether argument
is requested and/or whether an evidentiary hearing is required. Any motion which is not listed will
be dismissed as moot.

3. If a hearing is not required, please indicate so and return.
Evidentiary
Nature of Motion Argument Hearing
Requested Required

 

 

 

 

 

 

 

 

 

 

(11)
(12)

 

 

(Y Lf). AS WNFLO

"Signature of Attorney Counsel for:

USA v. Caleb James Anderson,
2:18cr41

BY DIRECTION OF THE COURT: E-FILE this document on or before noon, November 26, 2018

 

 

Kim Mixon

Courtroom Deputy Clerk
801 Gloucester Street
Brunswick, Georgia 31521
